     Case 2:22-cv-00184-LCB-CWB Document 301 Filed 07/24/23 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE, et al.,                        )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )             Case No. 2:22-cv-184-LCB
                                            )
STEVE MARSHALL, et al.,                     )
                                            )
      Defendants.                           )

                                       ORDER

      Upon consideration of the parties’ joint motion, and for good cause shown,

the Court GRANTS the motion (Doc. 300) and AMENDS the stipulated protective

order (Doc. 137) and stipulated HIPPA qualified protective order (Doc. 138) as

follows:

      Such orders do not prohibit the parties from issuing a subpoena to a non-party

health care provider seeking a plaintiff’s medical records, deposing such a health

care provider concerning his or her treatment of a plaintiff, or presenting a plaintiff’s

medical records to such plaintiffs’ health care provider to facilitate questioning.

      Any documents or testimony allowed by this amendment shall remain

protected by the Court’s protective and HIPAA orders and shall be treated as

“Confidential – Attorneys’ Eyes Only” under such orders.
Case 2:22-cv-00184-LCB-CWB Document 301 Filed 07/24/23 Page 2 of 2




 DONE and ORDERED July 24, 2023.



                           _________________________________
                           LILES C. BURKE
                           UNITED STATES DISTRICT JUDGE




                                2
